

Matter of Pendergrass (2021 NY Slip Op 04328)





Matter of Pendergrass


2021 NY Slip Op 04328


Decided on July 9, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 9, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., LINDLEY, CURRAN, BANNISTER, AND DEJOSEPH, JJ. (Filed June 22, 2021.)


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[*1]MATTER OF ANTHONY L. PENDERGRASS, AN ATTORNEY, RESPONDENT. GRIEVANCE COMMITTEE OF THE EIGHTH JUDICIAL DISTRICT, PETITIONER.



MEMORANDUM AND ORDER
Order of interim suspension entered pursuant to 22 NYCRR 1240.9.








